Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 1 of 39 PageID #: 840




                         UNITED STATES DISTRICT COURT

                               DISTRICT OF DELAWARE

  LABORERS’ LOCAL #231 PENSION
  FUND, Individually and on Behalf of All
  Others Similarly Situated,                   C.A. No. 1:17-cv-00478-MAK

                               Plaintiff,

         vs.

  RORY J. COWAN, EDWARD A.                     CLASS ACTION
  BLECHSCHMIDT, MICHAEL G.
  DALLAS, GUY L. de CHAZAL, SUSAN
  JANE KANTOR, PAUL A. KAVANAUGH,
  JACK NOONAN, JAMES A. QUELLA,
  CLAUDE P. SHEER, MARC LITZ, H.I.G.
  CAPITAL L.L.C., LBT ACQUISITION,
  INC., and LBT MERGER SUB, INC.

                               Defendants.

        SECOND AMENDED COMPLAINT FOR VIOLATION OF FEDERAL
                        SECURITIES LAWS
  OF COUNSEL:                                ANDREWS & SPRINGER LLC
                                             Peter B. Andrews (#4623)
  ROBBINS GELLER RUDMAN                      Craig J. Springer (#5529)
    & DOWD LLP                               David M. Sborz (#6203)
  Randall J. Baron                           3801 Kennett Pike Building C, Suite 305
  David T. Wissbroecker                      Wilmington, DE 19807
  655 West Broadway, Suite 1900              Telephone: 302/504-4957
  San Diego, CA 92101                        302/397-2681 (fax)
  Telephone: 619/231-1058                    Email: pandrews@andrewsspringer.com
  619/231-7423 (fax)                                 cspringer@andrewsspringer.com
         – and –                                     dsborz@andrewsspringer.com
  Christopher H. Lyons (#5493)
  414 Union Street, Suite 900                Local Counsel
  Nashville, TN 37219
  Telephone: 615/244-2203
  615/252-3798 (fax)

  Lead Counsel for Plaintiff
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 2 of 39 PageID #: 841




                                      INTRODUCTION

         1.      This is a class action brought on behalf of former stockholders of Lionbridge

  Technologies, Inc. (“Lionbridge” or the “Company”). Lionbridge and an affiliate of private-
                   1
  equity firm HIG engaged in a merger (the “Merger”) in which Lionbridge stockholders

  received $5.75 per share in cash, and Lionbridge became a wholly owned subsidiary of HIG,

  under an Agreement and Plan of Merger dated December 12, 2016, by and among

  Lionbridge, LBT Acquisition, Inc., and LBT Merger Sub, Inc. (the “Merger Agreement”).

         2.      The Merger was effectively a going-private buyout in which Lionbridge’s

  Chief Executive Officer (“CEO”), defendant Rory J. Cowan (“Cowan”), participated with

  HIG to acquire the Company and run it as a private entity for his own benefit and that of

  HIG, without having to share the long-term fruits of the Company’s promising prospects

  with its public stockholders.

         3.      In their eagerness to encourage stockholders to accept the Merger,

  notwithstanding the inadequacy of the price offered, the defendants misled stockholders as to

  crucial information about the Company’s prospects and value. Defendant Cowan managed

  the Company, and planned to continue managing it, not solely to maximize short-term

  financial results at the Company’s current scale, but to grow the Company substantially over

  the course of coming years. While the Merger Agreement valued the Company at about

  $356 million, Cowan managed the Company with plans to grow it fairly quickly to a $1

  billion company and beyond. A key way in which Cowan planned to achieve that goal was

  through acquisitions, which would accelerate the Company’s growth and, once they were

  made and integrated, make the Company a highly profitable powerhouse. Lionbridge’s


  1
         As used herein, “HIG” refers collectively to H.I.G. Capital LLC and its affiliates,
  including LBT Acquisition, Inc. and LBT Merger Sub, Inc.

                                              -1-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 3 of 39 PageID #: 842




  Board of Directors (the “Board” or “Individual Defendants”) repeatedly discussed this

  strategy before and throughout the process that led to the Merger. Indeed, after the Merger,

  the Company demonstrated its commitment to this strategy, announcing a major acquisition

  just three days after the Merger closed.

         4.      The problem here is that, in advocating the Merger, the defendants espoused

  financial projections that completely ignored these concrete business plans, and a valuation

  of the Company that was based on those projections. That is, while the Company planned a

  series of acquisitions that would boost the Company’s growth, earnings, and ultimate value

  (including at least one significant acquisition that was all but finalized by the time the

  stockholders voted), defendants pitched the Merger as if stockholders were being asked to

  choose between accepting the $5.75 per share and holding shares in a standalone Company

  that would do nothing but muddle along with no growth through acquisitions.

         5.      On January 31, 2017, defendants caused the Company to file with the U.S.

  Securities and Exchange Commission (“SEC”) a Definitive Proxy Statement (the “Proxy

  Statement”), in which the members of the Company’s Board recommended that stockholders

  vote their shares in favor of the Merger Agreement. The Proxy Statement disclosed

  management projections that contemplated revenue growth over the next several years of

  less than 3.9% per year. Those projections were inconsistent not only with the Company’s

  average revenue growth of about 7% per year from 2011-2015, but also with defendants’

  actual strategic plans for the Company. By disclosing only the management projections, and

  valuations based on those projections, Lionbridge stockholders were misled into voting in

  favor of the Merger. The defendants knew that the projections did not represent the

  operative reality of the Company because they had spoken on multiple occasions, in the




                                             -2-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 4 of 39 PageID #: 843




  months leading up to the Merger about the Company’s plans to continue growing through

  acquisitions, and they knew that the projections did not reflect those plans.

         6.      When stockholders are forced to decide whether to accept a certain value in a

  cash-out merger, there is no more material information than management’s estimates of the

  standalone corporation’s future cash flows. In such a situation, investors are concerned,

  perhaps above all else, with the expected corporate cash flows if the sale is not approved. A

  common refrain throughout case law states that “projections . . . are probably among the

  most highly-prized disclosures by investors. Investors can come up with their own estimates

  of discount rates or . . . market multiples. What they cannot hope to do is replicate

  management’s inside view of the company’s prospects.” For these reasons, under the federal

  securities laws, corporate directors are obligated to provide an honest and untainted summary

  and description of projected future cash flows.

         7.      Here, however, the Individual Defendants disclosed projected cash flows that

  did not reflect their own true expectations for the Company’s future earnings, because the

  projections were based on the incorrect assumption that the Company would abandon its

  acquisition-based growth strategy.     Indeed, the Individual Defendants have now (in

  connection with briefing a motion to dismiss in this action) explicitly admitted that the

  projections “did not include opportunities for upside such as acquisitions” and that “the

  forecasts did not include future acquisitions.”

         8.      The Proxy Statement omitted to disclose this crucial fact. That omission

  rendered materially misleading several statements in that document that conveyed to

  shareholders the understanding that the Board and Lionbridge management believed the

  disclosed projections were reliable and reasonable, and reflective of the Company’s actual

  business strategies and prospects. For example, the omission rendered misleading the

                                              -3-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 5 of 39 PageID #: 844




  Board’s recommendation that shareholders vote to approve the Acquisition, since that

  recommendation rested on projections and a financial analysis that, unbeknownst to

  shareholders, did not reflect the Company’s actual business strategy. As a result of the

  omission, the Individual Defendants misled stockholders in their attempt to make the

  undervalued Merger appear fair.

         9.      As a result of the materially misleading statements contained in the Proxy

  Statement, defendants were able to obtain shareholder approval of the sale of the Company

  to HIG and deprive Lionbridge stockholders of the full value of their interests in Lionbridge.

  On February 28, 2017, a majority of Lionbridge stockholders voted in favor of the Merger

  Agreement. Later that day, Lionbridge and HIG completed the Merger. The preparation and

  dissemination of the materially misleading Proxy Statement thus induced stockholder action

  which resulted in substantial harm to plaintiff and Lionbridge’s other stockholders.

  Meanwhile, the Merger benefitted Cowan because he was able to roll over a portion of his

  equity in the Company into equity in the post-Merger company, thus letting him share in the

  profits HIG will reap from buying the Company on the cheap. It also benefitted all of the

  Individual Defendants because it enabled them to receive millions of dollars for otherwise-

  unvested equity awards, and to liquidate their otherwise illiquid holdings of Lionbridge

  stock. The Board’s financial advisor, Union Square Advisors LLC (“Union Square”), also

  benefitted because it received millions of dollars in fees, entirely contingent on the Merger,

  and also pleased its past and prospective clients Cowan and HIG, each of which have caused

  Union Square to receive millions of dollars of fees in the past and, as Union Square hoped,

  will provide more such opportunities in the future.

         10.     This action is brought against Lionbridge, certain of its senior officers and

  directors and its merger partners HIG arising out of defendants’ dissemination of a materially

                                              -4-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 6 of 39 PageID #: 845




  misleading proxy statement in violation of §§14(a) and 20(a) of the Securities Exchange Act

  of 1934 (the “1934 Act”) and SEC Rule 14a-9 promulgated thereunder, 17 C.F.R. §240.14a-

  9. Plaintiff seeks damages on behalf of itself and other former Lionbridge shareholders.

                               JURISDICTION AND VENUE

         11.     Pursuant to 28 U.S.C. §§1331 and 27 of the 1934 Act, this Court has

  jurisdiction over the claims arising under and pursuant to §14(a) and §20(a) of the 1934 Act

  and SEC Rule 14a-9 promulgated thereunder, 17 C.F.R. §240.14a-9.

         12.     Venue is proper in this District pursuant to 28 U.S.C. §1391 and §27 of the

  1934 Act because defendant Lionbridge is a Delaware corporation. The Merger that is at

  issue in this action involved two Delaware corporations, and completion of the Merger

  required filing a certificate of merger in this District. Lionbridge also has a forum-selection

  provision in its bylaws, adopted by the Individual Defendants, that specifies Delaware courts

  as the exclusive forum for certain legal actions involving the Company (including those for

  breach of fiduciary duty arising out of transactions like the Merger).

                                           PARTIES

         13.     Plaintiff Laborers’ Local #231 Pension Fund owned 4,170 shares of

  Lionbridge common stock before the Merger closed, and was entitled to vote at the Special

  Meeting on the Merger. Plaintiff is a citizen of Illinois.

         14.     Before the Merger, defendant Lionbridge was a citizen of Massachusetts as it

  was incorporated in Delaware and headquartered in Waltham, Massachusetts. Lionbridge’s

  common stock was listed on the NASDAQ under the ticker “LIOX.” Lionbridge considers

  itself the world’s leading globalization company, providing translation and localization,

  digital marketing, global content management, and application testing services to the world’s

  top brands.


                                               -5-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 7 of 39 PageID #: 846




         15.        Defendant Cowan was Chairman of the Board, CEO, and President of the

  Company at least until closing of the Merger. Cowan founded Lionbridge in September

  1996, and continued to own over 18% of the equity at the time of the Company’s 1999 initial

  public offering (“IPO”). Cowan is identified in the Proxy Statement as a participant in the

  solicitation of proxies and had direct participation in and oversight of the wrongdoing

  alleged herein.

         16.        Defendant Edward A. Blechschmidt (“Blechschmidt”) was a director of

  Lionbridge from February 2003 at least until closing of the Merger. Blechschmidt is Chair

  of the Audit Committee. Blechschmidt is identified in the Proxy Statement as a participant

  in the solicitation of proxies and had direct participation in and oversight of the wrongdoing

  alleged herein.

         17.        Defendant Michael G. Dallas (“Dallas”) was a director of Lionbridge from

  October 2014 at least until closing of the Merger. Dallas is identified in the Proxy Statement

  as a participant in the solicitation of proxies and had direct participation in and oversight of

  the wrongdoing alleged herein.

         18.        Defendant Guy L. de Chazal (“de Chazal”) was a director of Lionbridge from

  February 1998, before the Company’s IPO, at least until closing of the Merger. At the time

  of the IPO, de Chazal was a member of the Company’s then six-member board of directors

  and was employed by Morgan Stanley Dean Witter Venture Capital, owner of 33.4% of the

  Company’s outstanding shares. de Chazal is a member of the Audit Committee. de Chazal

  is identified in the Proxy Statement as a participant in the solicitation of proxies and had

  direct participation in and oversight of the wrongdoing alleged herein.

         19.        Defendant Susan Jane Kantor (“Kantor”) was a director of Lionbridge from

  July 18, 2016 at least until closing of the Merger. Most recently before her appointment,

                                               -6-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 8 of 39 PageID #: 847




  Kantor served as a National Advisory Partner at PricewaterhouseCoopers, which has been

  Lionbridge’s auditor for over 18 years, and where Kantor was responsible for business

  development. Kantor is identified in the Proxy Statement as a participant in the solicitation

  of proxies and had direct participation in and oversight of the wrongdoing alleged herein.

         20.        Defendant Paul A. Kavanaugh (“Kavanaugh”) was a director of Lionbridge

  from December 1996, before the Company’s IPO, at least until closing of the Merger.

  Kavanaugh is a member of the Nominating and Compensation Committee. At the time of

  Kavanaugh’s election to the Board, Cowan and the venture capital fund that de Chazal

  represented collectively owned a majority of Lionbridge’s outstanding shares and, thus,

  caused Kavanaugh’s election to the Board. Kavanaugh is identified in the Proxy Statement

  as a participant in the solicitation of proxies and had direct participation in and oversight of

  the wrongdoing alleged herein.

         21.        Defendant Jack Noonan (“Noonan”) was a director of Lionbridge from April

  2010 at least until closing of the Merger. Noonan is a member of the Audit Committee.

  Noonan is identified in the Proxy Statement as a participant in the solicitation of proxies and

  had direct participation in and oversight of the wrongdoing alleged herein.

         22.        Defendant James A. Quella (“Quella”) was a director of Lionbridge from

  November 2015 at least until closing of the Merger. Quella is a member of the Nominating

  and Compensation Committee. Quella is identified in the Proxy Statement as a participant in

  the solicitation of proxies and had direct participation in and oversight of the wrongdoing

  alleged herein.

         23.        Defendant Claude P. Sheer (“Sheer”) was a director of Lionbridge from

  March 1999, before the Company’s IPO, at least until closing of the Merger. At the time of

  Sheer’s election to the Board, Cowan and the venture capital fund that de Chazal represented

                                               -7-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 9 of 39 PageID #: 848




  collectively owned a majority of Lionbridge’s outstanding shares and, thus, caused Sheer’s

  election to the Board. Sheer is the Chair of the Nominating and Compensation Committee.

  Sheer is identified in the Proxy Statement as a participant in the solicitation of proxies and

  had direct participation in and oversight of the wrongdoing alleged herein.

         24.     Defendant Marc Litz (“Litz”) was Senior Vice President Finance and Chief

  Financial Officer of Lionbridge from November 2015 at least until closing of the Merger.

  Litz joined the Company in August 2012. On information and belief, Litz provided material

  information for inclusion in the Proxy Statement and thus directly participated in the

  wrongdoing alleged herein, including by working with Cowan to prepare the management

  financial projections that were disclosed in the Proxy Statement.

         25.     Defendants Cowan, Blechschmidt, Dallas, de Chazal, Kantor, Kavanaugh,

  Noonan, Quella, and Sheer are collectively referred to as the “Board.” Defendants Cowan,

  Blechschmidt, Dallas, de Chazal, Kantor, Kavanaugh, Noonan, Quella, Sheer, and Litz are

  collectively referred to as the Individual Defendants.

         26.     Defendant HIG Capital LLC (“H.I.G. Capital”) is a Delaware limited liability

  company. H.I.G. Capital describes itself as a global private equity investment firm that

  specializes in providing capital to small and medium-sized companies. H.I.G. Capital

  controlled Parent and Merger Sub.

         27.     Defendant LBT Acquisition, Inc. (referred to as “Parent” in the Proxy

  Statement) is a Delaware corporation. Parent was formed solely in anticipation of the

  Merger by entities affiliated with H.I.G. Capital.       Upon completion of the Merger,

  Lionbridge will be a direct wholly-owned subsidiary of Parent.

         28.     Defendant LBT Merger Sub, Inc. (“Merger Sub”) was a Delaware

  corporation. Merger Sub was formed by Parent solely for the purpose of acquiring

                                              -8-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 10 of 39 PageID #: 849




   Lionbridge and was a wholly-owned subsidiary of Parent. Upon completion of the Merger,

   Merger Sub merged with and into Lionbridge, and ceased to exist as a separate entity.

          29.     Defendants H.I.G. Capital, Parent, and Merger Sub are collectively referred to

   herein as “HIG” or the “Buyer Defendants.” Under §6.04(b) of the Merger Agreement, the

   Buyer Defendants were required to, and did, cooperate with and assist the Company in

   connection with the preparation of the Proxy Statement.

          30.     Each of the defendants participated in the preparation, review and

   dissemination of the materially misleading Proxy Statement complained of herein. The

   Individual Defendants abdicated their duty to file and distribute to plaintiff and the class a

   Proxy Statement that was not misleading.

                              CLASS ACTION ALLEGATIONS

          31.     Plaintiff’s claims are brought on its own behalf and as a class action pursuant

   to Federal Rule of Civil Procedure 23 on behalf of all owners of Lionbridge common stock

   and their successors in interest, except defendants and their affiliates (the “Class”).

          32.     Plaintiff’s claims are properly maintainable as a class action under Federal

   Rule of Civil Procedure 23.

          33.     The Class is so numerous that joinder of all members is impracticable.

   According to the Proxy Statement, there were more than 61 million outstanding shares of

   common stock entitled to vote at the Special Meeting on the Merger.

          34.     There are questions of law and fact which are common to the Class and which

   predominate over questions affecting any individual Class member. The common questions

   include, but are not limited to, whether:

                  (a)     defendants violated §§14(a) and 20(a) of the 1934 Act and SEC Rule

   14a-9 by preparing, reviewing and disseminating a misleading Proxy Statement; and


                                                -9-
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 11 of 39 PageID #: 850




                   (b)       plaintiff and the other members of the Class have been damaged as a

   result of the conduct detailed herein.

           35.     Plaintiff’s claims are typical of the claims of the other members of the Class

   and plaintiff does not have any interests adverse to the Class.

           36.     Plaintiff is an adequate representative of the Class, has retained competent

   counsel experienced in litigation of this nature, and will fairly and adequately protect the

   interests of the Class.

           37.     The prosecution of separate actions by individual members of the Class would

   create a risk of inconsistent or varying adjudications with respect to individual members of

   the Class which would establish incompatible standards of conduct for the party opposing

   the Class.

           38.     Plaintiff anticipates that there will be no difficulty in the management of this

   litigation. A class action is superior to other available methods for the fair and efficient

   adjudication of this controversy.

           39.     Defendants have acted on grounds generally applicable to the Class with

   respect to the matters complained of herein, thereby making appropriate the relief sought

   herein with respect to the Class as a whole.

                               BACKGROUND OF THE MERGER

   The Cowan-Influenced Sales Process

           40.     In the first quarter of 2016, Lionbridge began to field inquiries from

   “financial sponsor parties,” i.e., private-equity firms, regarding a potential acquisition.

   Because this type of acquiror typically retains the target company’s existing management

   team after acquiring the company, and provides them equity interests in the post-acquisition

   company (including by converting their existing equity into equity in the post-acquisition


                                                - 10 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 12 of 39 PageID #: 851




   company), it was obvious to the Company’s Board and its senior management team that

   members of management, and especially Cowan, would have a conflict of interest relating to

   any transaction with financial acquirors.

          41.     Nevertheless, when the Board met in April 2016 to discuss the possibility of

   the Company being acquired and the Company’s long-term plan and prospects, it was Cowan

   who provided the Board with projections for future revenues and earnings. The Board

   apparently did not receive any independent input on the plan or the forecasts. Instead, as it

   would continue to do throughout the process, it relied exclusively on Cowan and the

   obviously conflicted management team for information about the Company’s prospects.

          42.     A few months later, in July 2016, the Board established a special committee

   of purportedly independent directors, consisting of defendants de Chazal, Blechschmidt, and

   Sheer (the “Special Committee”), to consider a sale of the Company (or other alternatives),

   negotiate terms and make recommendations to the Board. In reality, although the Special

   Committee’s whole reason for existing was to protect the sales process from Cowan’s

   conflict of interest with respect to any potential transaction with a financial acquiror, like

   HIG, the Special Committee was dominated by Cowan. de Chazal, who was the chair of the

   Committee, and Sheer had been affiliated with Cowan for decades. At the time of

   Lionbridge’s 1999 IPO, Cowan and the venture capital firm that de Chazal represented on

   Lionbridge’s Board collectively owned a majority of the Company’s outstanding shares.

   Thus, Cowan and de Chazal could and did elect all of the other directors at the time,

   including Sheer. Although Cowan was not a member of the Special Committee, he attended

   and participated in every single one of its meetings.

          43.     The sales process leading to the Merger was poisoned by the overarching

   presence of Cowan throughout. Through de Chazal and Sheer, Cowan dominated the

                                               - 11 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 13 of 39 PageID #: 852




   Special Committee, whose recommendations the Board reflexively followed. And as both

   the Board and Special Committee were well aware from the commencement of the sales

   process, HIG and Party D were both clearly interested in the retention of Cowan and other

   members of executive management following the closing of the Merger.

          44.     The extent of Cowan’s conflict is made plain by the several instances in

   which both HIG and Party D expressed their desire to retain Cowan and other members of

   the Company’s management after the Merger. HIG’s initial indication of interest, on July

   22, 2016, stated that “as a financial investor H.I.G. relies on skilled management and

   accordingly its proposal assumed that [Lionbridge’s] management would remain in place

   following the closing.” HIG’s August 18, September 29, and November 15 proposals

   echoed this statement. Party D made similar overtures, stating in its written indication of

   interest on August 19 and again on September 21 that “one of the most attractive features of

   this transaction for Party D was the management team.” At a November 22, 2016 meeting of

   the Special Committee, which Cowan attended, “[t]he Special Committee agreed that, if and

   when the parties came to an agreement on price, Mr. Cowan would be authorized to engage

   in high-level discussions with H.I.G. to understand H.I.G.’s general approach to retaining

   management teams in connection with its investments in or acquisitions of businesses.” On

   December 2, Cowan and HIG engaged in these discussions, which confirmed Cowan’s

   expectation that he would be treated well post-Merger.

          45.     In spite of this clear indication of Cowan’s conflict in relation to the

   transaction proposed by HIG, the Board never instructed Cowan to abstain from its

   discussions about the potential sale of the Company to HIG. Worse, the de Chazal-chaired

   Special Committee continued to invite Cowan into its deliberations about HIG and its offers.

   In fact, Cowan’s access to the process at times exceeded even that of Special Committee

                                              - 12 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 14 of 39 PageID #: 853




   members, not only in terms of representing the Company and its management in

   conversations with potential acquirors but also in terms of the Special Committee’s decision-

   making process. On October 12, 2016, for example, it was de Chazal and Cowan, without

   any other Special Committee members present (but with the Committee’s advisors), who

   decided to set an October 19 deadline for the confirmation of bids.

          46.     On November 23, 2016, the Special Committee and HIG agreed to the terms

   of an exclusivity agreement under which Lionbridge would negotiate exclusively with HIG

   through December 11, 2016, to reach a definitive agreement providing for the acquisition of

   Lionbridge by HIG at a price of $5.75 per share, subject to a “go-shop” period during which

   the Company could terminate the transaction in exchange for a reduced termination fee if it

   accepted a topping bid, although not if that bid came from a party that had been included in

   the sales process to date. On December 11, 2016, the parties finalized that agreement, and

   the Board (with Cowan present but abstaining) voted to approve the Merger and the Merger

   Agreement. The Merger was announced on December 12, 2016. Stockholders voted to

   approve it on February 28, 2017, and it closed on the same day.

   The Conflicts of Interest that Tainted the Sales Process and Incentivized Defendants
   to Advocate the Merger

          47.     The conflicts and conduct that led to the announcement of the Merger raise

   substantial issues about the fairness of the consideration paid to Lionbridge’s public

   stockholders and, more to the point, show the defendants’ incentives to mislead stockholders

   in order to lobby in favor of the Merger.

          48.     First, Cowan and a Cowan family trust entered into letter agreements

   concurrent with the Merger Agreement, pursuant to which they, in the aggregate, contributed

   to HIG immediately prior to the Merger approximately 16.0% of the total number of shares

   of Lionbridge common stock owned by Cowan and his family trusts, amounting to
                                               - 13 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 15 of 39 PageID #: 854




   approximately 2.0% of the total outstanding shares of Lionbridge common stock. The

   rollover will allow Cowan to benefit as Lionbridge flourishes under HIG, while the

   Company’s public stockholders – who did not have the opportunity to rollover any of their

   shares in the new entity – have been deprived of their Lionbridge equity and denied that

   special rollover benefit in return for the inadequate and unfair price of just $5.75 per share.

            49.      Second, members of the Board and Company management, who collectively

   held another approximately 12.8% of Lionbridge’s outstanding common stock, sought

   liquidity for their illiquid holdings in Lionbridge stock, and the Merger offered them that

   significant liquidity. When the Merger closed, members of the Board and Company

   management received over $40 million in cash from the deal. Below is a table setting forth

   the value of these payments for each Individual Defendant:


                                                                    Shares
                                                                  Beneficially Payment for Shares
   Name of Beneficial Owner                                         Owned      Beneficially Owned
   Rory J. Cowan2                                                    4,933,318        $23,827,925.94
   Edward A. Blechschmidt                                              171,094           $983,790.50
   Michael G. Dallas                                                    41,505           $238,653.75
   Guy L. de Chazal                                                    343,302         $1,973,986.50
   Susan Kantor                                                          7,559            $43,464.25
   Paul Kavanaugh                                                      112,081           $644,465.75
   Jack Noonan                                                          86,624           $498,088.00
   James A. Quella                                                      22,189           $127,586.75
   Claude P. Sheer                                                     141,094           $811,290.50
   All executive officers and directors as a group (13 persons)      7,903,124        $40,904,310.44

            50.      Third, Lionbridge’s officers and directors also received millions of dollars in

   special benefits – not given to ordinary stockholders – for unvested stock options and

   restricted stock units, which, upon the Merger’s closing, became either fully vested and

   exercisable or rolled over into stock options or restricted stock units of the post-Merger




   2
        The payment to Cowan reflects cash payment for only 84% of his shares, because
   16% were converted into equity in the post-Merger entity.

                                                      - 14 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 16 of 39 PageID #: 855




   company. The value of these awards for each Individual Defendant is described in the table

   below:

                                                        Aggregate
                                                        Long-Term
                          Aggregate Aggregate Aggregate Incentive            Aggregate
                          Vested    Unvested Restricted Performance          Restricted
                          Stock     Stock     Stock     Restricted           Stock        Total Equity
                          Option    Option    Unit      Stock                Award        Award
                          Payment Payment Payment Payment                    Payment      Consideration
                          ($)       ($))      ($)       ($)                  ($)          ($)

   Rory J. Cowan          511,050      12,750    —             2,469,165     2,636,375    5,629,340
   Edward A. Blechschmidt 572          7,294     40,819         —             —           48,685
   Michael G. Dallas      24,972       7,294     40,819         —             —           73,085
   Guy L. de Chazal       55,272       7,294     40,819         —             —           103,385
   Susan Jane Kantor      —            30,635    43,464         —             —           74,099
   Paul Kavanaugh         12,522       7,294     40,819         —             —           60,635
   Jack Noonan            55,272       7,294     40,819         —             —           103,385
   James Quella           4,031        10,753    40,819         —             —           55,603
   Claude Sheer           39,872       7,294     40,819         —             —           87,985

            51.    The Company’s senior management also received from the Merger millions

   more in change-of-control payments. The value of these payments are set forth below:


                                                           Perquisites/
                          Cash            Equity            Benefits                       Total
   Name                    ($)             ($)                 ($)                          ($)
   Rory J. Cowan           4,505,705        5,118,290                 42,475                   9,666,470
   Marc Litz                 829,994          637,531                   6,077                  1,189,649
   Marc Osofsky              928,888          908,676                 27,885                   1,865,449
   Paula Shannon             926,055          822,426                   5,437(8)               1,753,918
   Richard Tobin           1,092,650        1,141,282                 26,729                   2,260,661


                                 Cash Payable                                Cash Payable
                                  Pursuant to                                 Pursuant to
                                 Single-Trigger                             Double-Trigger
   Name                         Arrangements ($)                           Arrangements ($)
   Rory J. Cowan                                     639,404                                  3,866,301
   Marc Litz                                         141,741                                    688,253
   Marc Osofsky                                      126,285                                    802,603
   Paula Shannon                                     136,192                                    789,863
   Richard Tobin                                     200,869                                    891,781

            52.    Furthermore, five of the nine Board members were also conflicted by their

   longstanding relationships with Cowan or the Company. At the time of Lionbridge’s 1999

   IPO, de Chazal was a member of the Company’s then six-member board of directors and was


                                                - 15 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 17 of 39 PageID #: 856




   with Morgan Stanley Dean Witter Venture Capital, owner of 33.4% of the Company’s

   outstanding shares. At the time, Cowan owned 18.4% of Lionbridge’s outstanding shares.

   Cowan and de Chazal therefore could and did elect all of the other directors at the time,

   including current Board members Kavanaugh and Sheer. On July 12, 2016, the Company –

   led by the Cowan and de Chazal dominated Board – announced the appointment of Kantor to

   the Lionbridge Board. Most recently, Kantor served as a National Advisory Partner at

   PricewaterhouseCoopers, which had been Lionbridge’s auditor for over 18 years.

          53.     While Lionbridge’s stockholders were cut out of the picture, the Company’s

   management stayed on board after the transaction even as they cashed in their illiquid

   holdings for lucrative payouts.    As Cowan told Company employees following the

   announcement of the Merger: “There will be very few changes. I will remain as CEO and

   management, of course, will remain in place.” Consequently, in being retained by HIG,

   Lionbridge’s management got the best of both worlds: they could cash in or roll over their

   equity holdings, but also remain in their positions without being subject to the hassles and

   filing requirements of running a publicly traded company. In essence, the Merger was a

   management buyout, backed by HIG.

          54.     Finally, the Board retained a conflicted financial advisor. During the two-

   year period before the date of the Merger Agreement, Union Square had provided financial

   advisory services to the Company (other than in connection with the proposed merger with

   HIG) and received a fee of approximately $1 million for those services. Cowan was

   responsible for those engagements of Union Square, and Union Square had every incentive

   to maintain that strong relationship with Cowan going forward to secure future paydays.

   During the same two-year period, Union Square has provided financial advisory services to

   HIG in connection with an unrelated acquisition transaction and received fees for these

                                              - 16 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 18 of 39 PageID #: 857




   services of approximately $2 million. Again, Union Square had a strong incentive to

   maintain its relationship with HIG after the Merger.

          55.     Union Square was also conflicted by the form of compensation it received for

   advising the Committee. In return for serving as a financial advisor to the Board and

   rendering a fairness opinion, Union Square received a fee for its services of approximately

   $4.5 million, $600,000 of which was paid upon delivery of Union Square’s opinion and the

   remainder of which was payable only upon the closing of the Merger. Union Square was

   completely incentivized by the contingent nature of the fee to render, as it did, a favorable

   fairness opinion that the merger consideration was fair to Lionbridge’s public stockholders.

          THE COMPANY’S ACQUISITION-BASED GROWTH STRATEGY

          56.     Before, during, and after the Merger process, a core part of Lionbridge’s

   business strategy was to achieve significant growth through acquisitions of other companies.

   As the Company explained in its annual report for the year ended December 31, 2015,

   “Lionbridge has pursued an aggressive acquisition strategy since 2012 to expand and

   complement its service offerings and customer base.” Lionbridge also told investors in its

   annual report that “[w]e expect to continue making acquisitions as part of our long-term

   business strategy.” Defendants Cowan and Litz signed certifications to the annual report,

   attesting that they had reviewed the annual report and it did not contain any materially untrue

   statements or omissions.

          57.     In 2015, Lionbridge completed two significant acquisitions. First, it acquired

   CLS Communication, a Switzerland-based privately held translation company focused on the

   financial services, industrial, and government markets. Later in the year, it acquired Geotext

   Translations, Inc., a privately held provider of legal translation services. Both acquisitions




                                               - 17 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 19 of 39 PageID #: 858




   were presented as significantly expanding Lionbridge’s capabilities and accelerating its

   growth.

          58.     In November 2015, Lionbridge announced a $50 million share repurchase

   program, which defendant Cowan described as “underscoring our ongoing confidence in the

   long-term financial success of Lionbridge and our commitment to increase shareholder

   value.” At the same time, Cowan stressed that Lionbridge would also “continue to use our

   capital to fund growth, both organically and by acquisitions” and that “we believe

   Lionbridge is well positioned to proceed with both acquisitions and share repurchases while

   maintaining our leverage at a reasonable level.” As Lionbridge’s then-Vice President,

   Finance Marc Litz told investors and analysts on a conference call, Lionbridge still

   “expect[ed] to have ample flexibility to fund additional tuck-in acquisitions as appropriate”

   and would “continue to manage our capital to . . . fund growth.” On that same call, Cowan

   trumpeted Geotext as just one “example” of Lionbridge “executing on [its] strategy of

   moving upstream to new buyers and over to new additional vertical markets” as well as

   “diversifying outside of our core [tech] sector with both organic growth and acquisitions in

   the new verticals.”

          59.     Lionbridge continued with the same strategy into 2016, with Cowan telling

   investors and analysts in a February 2016 conference call that the Company was still “using

   [its] capital to support . . . strategic tuck-in acquisitions.” In a July 2016 press release

   announcing Kantor’s appointment to the Board, she hailed her anticipation that the Company

   would continue to ‘“evolve[] and broaden[] across new verticals, new markets and new

   channels.’”

          60.     In the first half of 2016, Lionbridge completed a major reorganization for the

   stated purpose of facilitating its strategy of growing through acquisitions. Lionbridge had

                                              - 18 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 20 of 39 PageID #: 859




   historically been “organized functionally,” into “[g]lobal sales, global operations, [and]

   global technology” organizations. As Cowan told investors and analysts in August 2016,

   however, this type of “functional org[anization]” does not “scale.” To address that inability

   to rapidly increase the size of the Company using its existing structure, Lionbridge effected a

   major reorganization. Operations were rearranged into nine “Strategic Business Units,” with

   “senior leaders or general managers responsible for the full P&L from revenue, all the way

   down to a net income or to profit.” Cowan described the reorganized structure as a

   “structure for an effective, targeted acquisition strategy,” which meant that Lionbridge now

   had “places where [it could] plug in the smaller acquisitions, and they can report to a GM for

   faster integration that really aligns offerings, cost models and cultures.” Cowan told

   investors and analysts that these changes were made so that Lionbridge could get “to the $1

   billion . . . level over the coming years.”

           61.     Further showing that acquisition-based growth was central to the Company’s

   strategy, the Board repeatedly discussed the Company’s “ability to access capital to fund

   acquisitions” during the sales process. For example, that topic was one of the issues

   purportedly discussed at the January 28 and 29, 2016 Board meeting at which the Board was

   “supportive of management continuing to engage in preliminary and introductory discussions

   with the various parties who had expressed general interest in a potential strategic

   transaction.” “[A]ccess to capital to fund acquisitions” was also a factor the Board discussed

   at its regularly scheduled April 27 and 28, 2016 meeting, at which Cowan presented

   preliminary financial projections and the Board authorized management to engage in

   preliminary discussions with HIG. At that same meeting, in discussing the Company’s

   “long-range plan and prospects,” the Board also discussed “business development

   opportunities” which, especially because they were contrasted with “organic growth . . .

                                                 - 19 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 21 of 39 PageID #: 860




   opportunities,” was clearly a reference to the Company’s strategy of growing through

   acquisitions.

           62.     Once the Special Committee was formed, it discussed both the Company’s

   “access to capital to fund acquisitions” and its “long-range plan” including “business

   development opportunities” at its July 14, 2016 meeting, where it decided to “continue to

   respond to the inquiries of the various interested parties to assess their interest in a potential

   acquisition of Lionbridge” and instructed Mr. de Chazal to contact potential financial

   advisors. The Special Committee discussed the Company’s “access to capital to fund

   acquisitions” and its “business development opportunities” again at meetings on August 11

   and October 19, 2016, in connection with its decision to explore a sale process with HIG and

   with four other parties but not to contact other potential acquirors, and its decision not to

   contact HIG in an attempt to pressure it to finalize a complete and firm bid.

           63.     On October 27, 2016, the full Board discussed the Company’s “access to

   capital to fund acquisitions” and its “business development opportunities” in connection with

   the Board’s decision to attempt to pressure HIG and “Party D” to submit a final bid by

   telling them that management’s focus would return to executing the Company’s “long-term

   strategic plan.” In approving and recommending the Merger, the Board again cited “risks to

   our business . . . including our ability to grow organically and through business development

   opportunities” as one of the “Reasons for the Merger and Recommendation of our Board of

   Directors.”

           64.     After the Merger was announced, Lionbridge continued to plan for significant

   growth through acquisitions. Within a week after announcing the Merger, Cowan told a

   journalist from Slator that, after the Merger, Lionbridge was ‘“absolutely’” going to

   participate very actively in M&A. Cowan stressed that, as a private company, Lionbridge’s

                                                 - 20 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 22 of 39 PageID #: 861




   ability to lever up its balance sheet would be enhanced. Cowan opined that the language

   services industry was ‘“entering an era of industry consolidation, as it bifurcates into very

   small local players and very large global players, and as in every other industry that mid-

   range tends to get hollowed out.’” Accordingly, he made a pitch to mid-sized language

   service providers that they should consider ‘“selling to a larger player that has already

   brought professional management, professional technology, and has global offices,’” like

   Lionbridge.

          65.     Confirming that the Company’s acquisition-based growth strategy had not

   changed, Cowan told employees after the Merger was announced that the Company’s

   strategy would not significantly change: “[R]ather than having multiple investors, we will

   have a single investor. We’ll no longer be in the public markets. We plan to operate

   substantially as we do today. There will be very few changes. I will remain as CEO and

   management, of course, will remain in place.”

          66.     Further confirming that the Company intended to continue pursuing growth

   through acquisitions, it was just three days after the Merger closed that the now HIG-owned

   Lionbridge announced its next acquisition. On March 3, 2017, the Company announced the

   acquisition of Exequo, a privately-held audio production, translation and localization

   company that specializes in global video game services, with studios in five countries.

   Although terms of the transaction were not disclosed, market observers noted that this

   strengthened Lionbridge’s position to compete in the video game localization market, where

   the “much smaller” Keywords Studios had achieved a market capitalization of over $400

   million on the London Stock Exchange.          Lionbridge’s Vice President of Corporate

   Development and Investor Relations stressed in an interview with Slator that the deal

   “underscores H.I.G.’s support of Lionbridge’s growth strategy.”

                                              - 21 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 23 of 39 PageID #: 862




          67.     Given that it takes months for a transaction like this to be negotiated,

   approved, and consummated, it is clear that the Individual Defendants knew of the planned

   acquisition and had a concrete plan to proceed with it well before the Merger was completed,

   and before the Proxy Statement was filed with the SEC. Nonetheless, stockholders were told

   nothing about this acquisition in the Proxy Statement and (on information and belief based

   on the fact that such a significant acquisition would have drastically increased the projected

   growth rates, at least as to revenues) it was not reflected in the management projections that

   were disclosed.

          68.     In July 2017, Cowan again confirmed that Lionbridge was still planning to

   grow through acquisitions.      In an interview with Slator, Cowan was asked about

   Lionbridge’s future mergers and acquisitions strategy. He said that the first six months since

   the Company’s acquisition had gone very well and that now “of course they [HIG] want to

   put their money to work.” He continued: “We are looking at a lot of companies. The

   phones are ringing right now. Because what we are seeing is that a lot of firms on one side

   are excited about the next leg of growth but they are sort of frightened by the technology

   changes and the capricious nature of some of the larger buyers here in the industry.” Cowan

   also explained that the Company had hired a new CEO (while Cowan would remain

   intimately involved with the Company as Chairman of the Board) who was selected on the

   basis that, while existing executives were good at “running the business,” the post-Merger

   Lionbridge needed someone to “run the corporation” because “there is an acquisition

   strategy going on.”

           DEFENDANTS’ OMISSIONS AND MATERIALLY MISLEADING
             STATEMENTS ABOUT THE FINANCIAL PROJECTIONS

          69.     On January 31, 2017, Lionbridge filed the Proxy Statement with the SEC.

   The primary message of the Proxy Statement was, as defendant Cowan explained in his
                                               - 22 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 24 of 39 PageID #: 863




   cover letter to the Proxy Statement, and as was repeated in bold all-capital print in the notice

   of the special meeting of stockholders and again multiple times in the body of the Proxy

   Statement, that “[t]he members of [Lionbridge’s] Board of Directors voting on the matter

   unanimously recommend that you vote ‘FOR’ the adoption of the merger agreement.” In

   advocating for the Merger, however, the Proxy Statement materially misled Lionbridge

   stockholders, making the Merger seem more attractive than it really was.

           70.     On pages 52-54 of the Proxy Statement, defendants disclosed what they

   described as management financial projections. The projections were described as “forecasts

   and assumptions for certain periods between 2016 and 2020” that “were developed under the

   assumption of continued standalone operation as a publicly-traded company and did not give

   effect to any changes or expenses as a result of the merger or any effects of the merger.” The

   projections included forecasts prepared by Lionbridge’s management, including Cowan, for

   the full fiscal years 2016 and 2017, and “extrapolated projections for calendar years 2018

   through 2020,” which were prepared by the Company’s financial advisors at Union Square

   and then “approved for use by senior management.” Collectively, defendants referred to the

   management-generated forecasts and the Union Square-generated extrapolations as the

   “Management Case” in the Proxy Statement.

           71.     The projections disclosed in the Proxy Statement were as follows:

                              2016        2017         2018              2019            2020
                             Forecast   Projection   Projection        Projection      Projection
   Revenue                  $    550.5 $      572.0 $      606.5*     $      623.6*   $      641.2*
   Adjusted EBITDA[]        $     50.1 $       60.1 $       69.7*     $       75.5*   $       81.4*
   GAAP Income from
     Operations             $     22.2 $        32.7 $        43.2*   $       49.6*   $       56.0*
   Unlevered Free Cash
     Flow[]                 $     16.6 $        20.4 $        30.6*   $       34.3*   $       38.3*

           72.     As the table above shows, the projections contemplated that, over four years,

   the Company’s revenues would grow from $550.5 million to $641.2, reflecting a compound


                                                - 23 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 25 of 39 PageID #: 864




   annual growth rate of less than 3.9%. By contrast, over the four years from 2011 to 2015,

   the Company had experienced compound annual revenue growth of nearly 7%. As recently

   as November 8, 2016, Lionbridge had provided the market a preliminary outlook for fiscal

   year 2017 with estimated year-on-year revenue growth of 4%-6% “with opportunities for

   upside,” and double-digit year-on-year Adjusted EBITDA growth. Perhaps unsurprisingly,

   2017 was a strong year for Lionbridge – much stronger than defendants implied it would be

   through their disclosed projections. Whereas the disclosed projections estimated that 2017

   revenue would be $572 million, the Company actually closed 2017 “just short of USD 600m

   in revenues.” This included 16% growth in the fourth quarter – a far cry from the annual

   growth rate of 3.9% shown in the disclosed projections.

          73.     Less than a year before the Merger was announced, Cowan had publicly

   discussed his intention to make Lionbridge a $1 billion company in the near future, largely

   through acquisitions. The Merger, however, valued the Company at barely more than a third

   of that, meaning the acquisition-based growth strategy was expected to nearly triple the size

   of the Company. The management projections that were disclosed, because they do not

   reflect growth through acquisitions, are inconsistent with that strategy and with the resulting

   growth.

   The Proxy Statement Omitted a Key Fact that Defendants Have Now Admitted:
   The Projections Excluded Acquisition-Based Growth

          74.     As explained above, it is evident that the disclosed projections do not reflect

   continuation of Lionbridge’s acquisition-driven growth strategy. If there were any doubt,

   however, Defendants cleared it up in briefing their motion to dismiss Plaintiff’s initial

   Amended Complaint for Violation of the Securities Laws. In their opening brief, Defendants

   admitted that the projections “did not include opportunities for upside such as acquisitions.”



                                               - 24 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 26 of 39 PageID #: 865




   In their reply brief, Defendants again conceded that “the forecasts did not include future

   acquisitions.”

           75.      The Proxy Statement omitted this key fact. Nowhere in the Proxy Statement

   does it say that the disclosed projections exclude the effect of acquisitions, or exclude the

   effect of acquisitions not yet specifically identified or announced, or provide any similar

   explanation of the exclusion. It would have been simple for the Proxy Statement to include

   such an explanation, and indeed it is common for merger-related proxy statements to explain

   precisely this issue when they rely on projections that exclude acquisitions. For example,

   recent proxy statements in connection with proposed mergers, when relying on projections

   that excluded acquisitions, have made statements like the following: “Prospective mergers

   and acquisitions were excluded from the financial projections”; “[I]n connection with the

   proposed transaction, certain non-public, unaudited financial projections regarding [the

   company’s] anticipated results of operations for fiscal years 2017 through 2021 excluding

   the results of projected acquisitions were provided to the [board, financial advisor, and

   counterparty]”; “[The financial advisor] calculated [the company’s] unlevered free cash flow

   for 2018 through 2021 using the [company’s] projections (excluding unidentified

   acquisitions)”; “The [company’s] management forecasts reflect various assumptions and

   estimates . . . , including, without limitation: . . . no acquisitions are undertaken, other than

   those communicated pre-merger announcement.” No such statement appears in the Proxy

   Statement.

   Defendants’ Omission Rendered the Proxy’s Statements About the Projections
   Materially Misleading

           76.      The omission of the fact that the disclosed projections assumed a drastic

   departure from the Company’s actual business strategy, i.e., that the Company would make

   no acquisitions, made several statements in the Proxy Statement materially misleading.
                                                - 25 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 27 of 39 PageID #: 866




          77.     First, the omission of the fact that the disclosed projections excluded

   acquisitions rendered materially misleading the Board’s recommendation that shareholders

   vote in favor of the Acquisition and the purported basis for that recommendation. As noted

   above, the Proxy Statement conveyed the “unanimous[] recommend[ation]” of the voting

   members of the Board that stockholders vote in favor of the Merger. The Proxy Statement

   informed stockholders that “[i]n arriving at its recommendation, our Board of Directors

   carefully considered a number of factors.” It continued: “For the factors considered by the

   members of our Board of Directors voting on the matter in reaching their decision to approve

   the merger agreement, see ‘The Merger—Reasons for the Merger and Recommendation of

   our Board of Directors’ beginning on page 39 of this proxy statement.” That section, in

   turn, explained that: “During the course of its deliberations on [the] merger, the Special

   Committee . . . reviewed, evaluated and considered . . . , together with our full Board of

   Directors, . . . our business and financial prospects if [Lionbridge] were to remain an

   independent, publicly-traded company . . . , including forecasts of future financial

   performance set forth in the [disclosed projections].”

          78.     This statement was misleading because it told the reasonable shareholder that

   the disclosed projections were (and/or the Board believed they were) representative of the

   Company’s actual “business and financial prospects if [it] were to remain an independent,

   publicly-traded company.” Because the Proxy Statement omitted the fact that the disclosed

   projections did not reflect the Company’s actual plans or prospects, and instead excluded

   acquisition-based growth, this statement was materially misleading.

          79.     Second, the omission of the fact that the disclosed projections excluded

   acquisitions rendered misleading Union Square’s fairness opinion and the Board’s reliance

   on that fairness opinion. The Proxy Statement represented that: “In reaching its decision to

                                              - 26 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 28 of 39 PageID #: 867




   approve the merger agreement, including the merger, and to recommend that the Lionbridge

   stockholders vote in favor or [sic] approval of the merger agreement[], our Board of

   Directors and the Special Committee determined that the following were positive reasons to

   support the merger agreement: . . . certain financial analyses presented to our Board of

   Directors by Union Square and the oral opinion of Union Square, subsequently confirmed in

   writing, that . . . the merger consideration to be received by the holders of shares of our

   common stock (other than Excluded Shares) pursuant to the merger agreement was fair, from

   a financial point of view, to such holders.” The Proxy Statement further represented that, in

   reaching that opinion, Union Square had “used and relied upon” the disclosed projections,

   and that Union Square had “assumed and relied upon . . . the accuracy and completeness of

   the information . . . supplied or otherwise made available to . . . Union Square” and “further

   relied upon the assurances of the Company’s management that they were not aware of any

   facts that would make such information inaccurate or misleading.” The Proxy Statement

   also stated that “Union Square assumed that [the] financial forecasts were reasonably

   prepared on a basis reflecting the best currently available estimates and good faith judgments

   of management as to the future competitive, operating and regulatory environments and

   related financial performance of the Company.”

          80.     These statements were misleading because they told the reasonable investor

   that the Board viewed the disclosed projections as reasonable and reliable for valuation

   purposes, and that Lionbridge’s management had provided explicit assurances that they were

   unaware of any facts making the projections misleading. Because the Proxy Statement

   omitted the fact that the disclosed projections excluded a crucial part of the Company’s

   actual business strategy (and the Company’s officers and directors knew that fact), these

   statements were materially misleading.

                                               - 27 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 29 of 39 PageID #: 868




           81.     Third, the omission of the fact that the disclosed projections excluded

   acquisitions rendered misleading the Proxy Statement’s representation that the Board had

   compared the value available in the Merger to the future value of the Company based on

   both organic and acquisition-driven growth. The Proxy Statement cited, as a “positive

   reason to support the merger,” the Board’s “belief . . . that the consideration of $5.75 per

   share to be received by the Lionbridge stockholders in the merger provides greater certainty

   of value and less risk to such stockholders relative to the potential trading price of the shares

   over the long-term after accounting for[, among other things, Lionbridge’s] ability to grow

   organically and through business development opportunities.”              This statement was

   misleading because it implied to the reasonable investor that the disclosed projections, and

   Union Square’s valuation analyses based on those projections, reflected Lionbridge’s ability

   to grow “through business development opportunities.” Because the Proxy Statement

   omitted the fact that the disclosed projections did not reflect acquisition-driven growth, that

   statement was materially misleading.

           82.     Fourth, the omission of the fact that the disclosed projections excluded

   acquisitions rendered misleading the Proxy Statement’s representation that the disclosed

   “forecasts . . . were developed under the assumption of continued standalone operation as a

   publicly-traded company and did not give effect to any changes or expenses as a result of the

   merger or any effects of the merger.” A reasonable investor would have understood, from

   this statement, that the disclosed projections reflected “continued standalone operation as a

   publicly-traded company” and did not reflect a fundamental change in the Company’s

   business strategy. But in reality, the disclosed projections did reflect just such a fundamental

   change – a change from acquisition-driven growth to muddling along without making




                                                - 28 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 30 of 39 PageID #: 869




   acquisitions. Because the Proxy Statement omitted that fact, this statement was materially

   misleading.

          83.     Fifth, the Proxy Statement’s omission of the fact that the disclosed

   projections excluded acquisitions rendered misleading the Proxy Statement’s implication that

   the disclosed projections reflected management’s honest judgments with respect to future

   business conditions and strategies. The Proxy Statement stated:

          The forecasts, including the December Projections, while presented with
          numerical specificity, were based on numerous variables and assumptions
          that necessarily involve judgments with respect to, among other things,
          future economic, competitive and regulatory conditions and financial
          market conditions, all of which are difficult or impossible to predict and
          many of which are beyond our control. The forecasts also reflect
          assumptions as to certain business decisions that are subject to change and
          reflect certain assumptions regarding demand from our large client accounts.
          Important factors that may affect actual results and the achievability of the
          projections include, but are not limited to, risks and uncertainties pertaining
          to our business, including those risk and uncertainties described in our
          Annual Report on Form 10-K for the fiscal year ended December 31, 2015,
          subsequent quarterly reports on Form 10-Q and current reports on Form 8-K.
          In addition, the forecasts may be affected by our ability to achieve strategic
          goals, objectives and targets over the applicable period.

   This statement implied to the reasonable shareholder that the forecasts (a) were based on

   management’s honest, good-faith judgments with respect to future economic, competitive

   and regulatory conditions, (b) reflected management’s honest, good-faith assumptions as to

   anticipated future business decisions, and (c) reflected the Company’s actual strategic goals.

   Because the Proxy Statement omitted the fact that the disclosed projections did not reflect

   the Company’s actual strategy for growth, this statement was materially misleading.

          84.     Sixth, the Proxy Statement’s omission of the fact that the disclosed

   projections excluded acquisitions rendered misleading the Proxy Statement’s contrary

   implication that the projections reflected anticipated future transactions or events. The Proxy

   Statement told shareholders that “[t]he forecasts . . . reflect assumptions that are subject to


                                               - 29 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 31 of 39 PageID #: 870




   change and are susceptible to multiple interpretations and periodic revisions based on actual

   results, revised prospects for our business, changes in general business or economic

   conditions, or any other transaction or event that has occurred or that may occur and that was

   not anticipated when the forecasts were prepared.” A reasonable shareholder would, thus,

   have understood the disclosed projections to reflect conditions, transactions, or events that

   were anticipated when they were prepared – like Lionbridge’s strategy for growth. Because

   the Proxy Statement omitted the fact that the disclosed projections did not include the

   Company’s anticipated acquisition-based growth strategy, this statement was materially

   misleading.

   The Proxy’s Statements of Fact About the Projections Were Material

          85.     When investors are asked to consider whether to approve or reject a proposed

   cash-out merger, the choice boils down to one question: Is the cash value on offer more or

   less than the expected value of remaining a shareholder and continuing to receive a share of

   the Company’s future earnings? In making this determination, management’s estimate of the

   Company’s future returns has been described by courts as “probably among the most highly

   prized disclosures by investors” and as “clearly material information.”

          86.     In the Proxy Statement, Defendants at least implicitly acknowledged the

   materiality of the projections. First, at least three separate bullet-point paragraphs in the

   section entitled “Reasons for the Merger and Recommendation of our Board of Directors”

   directly or indirectly relied upon the disclosed projections in support of the Merger. Second,

   the Proxy Statement stated that the disclosed projections were included “to give the

   Lionbridge stockholders access to certain financial projections that were made available to

   the Special Committee, our Board of Directors and Union Square.” This statement was an

   acknowledgment that, because the projections were relied upon by the Board and Union


                                               - 30 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 32 of 39 PageID #: 871




   Square in their analysis of and recommendation of the Merger, the projections would be

   important to shareholders (and would be considered material under Delaware law, which

   applies the same standard of materiality as under federal law).

           87.    Because the management projections were – or at least would have been if

   they were reliable – among the most important pieces of data in the Proxy Statement,

   statements relating to the reliability of those projections were highly material to shareholders

   considering whether to vote in favor of the Merger.

   The Misleading Projections and Related Statements Caused Plaintiff Losses by
   Misleading Shareholders Into Approving the Merger at an Inadequate Price

           88.    The misleading statements and omissions regarding the pessimistic

   projections, in turn, caused shareholders to believe that the Merger was more attractive,

   relative to Lionbridge remaining independent, than it truly was, and thus caused them to

   mistakenly approve the Merger. The low-growth projections enabled Union Square to

   perform financial analyses, based on the projections, that implied that the Merger price of

   $5.75 per share was within the range of fairness. This, despite the facts that the $5.75 per

   share Merger consideration represented a premium of only 3.20% based on Lionbridge’s

   closing price on December 9, 2016. This premium was significantly below the average one-

   day premium of nearly 38.96% for comparable transactions within the three years preceding

   the Merger. Further, the $5.75 merger consideration was significantly below the target price

   of $7.00 set by an analyst at Barrington Research on May 9, 2016, the target price of $6.50

   set by an analyst at Craig-Hallum Capital Group LLC on November 8, 2016, and the target

   price of $6.35 set by an analyst at Noble Financial Group on May 6, 2016. In the three years

   before the Merger, Lionbridge stock traded as high as $7.50 per share on February 26, 2014,

   and traded above the Merger consideration – at $5.89 per share – as recently as November 9,

   2015.
                                                - 31 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 33 of 39 PageID #: 872




          89.      Had Union Square used projections that were consistent with the Company’s

   actual strategy of growing through significant acquisitions, it likely would not have been able

   to opine that the Merger price was fair and, even if it did so opine, stockholders would not

   have been convinced and would not have supported the Merger.

                                             COUNT I

                                   Against All Defendants
                           for Violations of §14(a) of the 1934 Act
                        and SEC Rule 14a-9 Promulgated Thereunder

          90.      Plaintiff repeats and realleges the allegations contained above, as if fully set

   forth herein.

          91.      SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to §14(a) of the

   Securities Exchange Act of 1934, provides:

          No solicitation subject to this regulation shall be made by means of any
          proxy statement, form of proxy, notice of meeting or other communication,
          written or oral, containing any statement which, at the time and in the light of
          the circumstances under which it is made, is false or misleading with respect
          to any material fact, or which omits to state any material fact necessary in
          order to make the statements therein not false or misleading or necessary to
          correct any statement in any earlier communication with respect to the
          solicitation of a proxy for the same meeting or subject matter which has
          become false or misleading.

          92.      Defendants prepared, reviewed and/or disseminated the misleading Proxy

   Statement which failed to disclose material facts necessary in order to make the statements

   made, in light of the circumstances under which they were made, not misleading.

          93.      As stated herein, the Proxy Statement contained untrue statements of material

   facts and omitted to state material facts necessary to make the statements that were made not

   misleading in violation of §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated

   thereunder, and the Proxy Statement was an essential link in the consummation of the

   Merger. Defendants have also failed to correct the Proxy Statement and the failure to update


                                                - 32 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 34 of 39 PageID #: 873




   and correct misleading statements is also a violation of §14(a) of the 1934 Act and SEC Rule

   14a-9 promulgated thereunder.

          94.     The written communications made by defendants described herein constitute

   violations of Rule 14a-9 and §14(a) because such communications are materially misleading

   and were provided in at least a negligent manner.

          95.     As a direct result of defendants’ negligent preparation, review and

   dissemination of the misleading Proxy Statement, plaintiff and the class were precluded both

   from exercising their right to seek appraisal and were induced to vote their shares and accept

   inadequate consideration of $5.75 per share in connection with the Merger. The misleading

   Proxy Statement used to obtain stockholder approval of the Merger deprived plaintiff and the

   class of their right to a fully informed stockholder vote in connection therewith and the full

   and fair value for their Lionbridge shares. At all times relevant to the dissemination of the

   materially misleading Proxy Statement, defendants were aware of and/or had access to the

   true facts concerning Lionbridge’s acquisition-based growth strategy, which was not

   reflected in the management projections that were disclosed in the Proxy Statement, and thus

   were aware that their statements about those projections were misleading. Also as a result,

   defendants were aware that Lionbridge’s true value was materially higher than indicated in

   Union Square’s financial analyses based on those projections and materially higher than the

   $5.75 per share that Lionbridge’s stockholders received in the Merger. Thus, as a direct and

   proximate result of the dissemination of the misleading Proxy Statement defendants used to

   obtain stockholder approval of and thereby consummate the Merger, plaintiff and the class

   have suffered damage and actual economic losses (i.e., the difference between the price

   Lionbridge stockholders received and Lionbridge’s true value at the time of the Merger) in

   an amount to be determined at trial.

                                               - 33 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 35 of 39 PageID #: 874




          96.        The omissions and misleading statements in the Proxy Statement are material

   in that a reasonable stockholder would have considered them important in deciding how to

   vote on the Merger. In addition, a reasonable investor would view a full and accurate

   disclosure as having significantly altered the “total mix” of information made available in the

   Proxy Statement and in other information reasonably available to stockholders.

          97.        By reason of the misconduct detailed herein, the defendants are liable

   pursuant to §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.

                                              COUNT II

                   Against the Individual Defendants and the Buyer Defendants
                              for Violation of §20(a) of the 1934 Act

          98.        Plaintiff repeats and realleges the allegations contained above, as if fully set

   forth herein.

          99.        The Individual Defendants acted as controlling persons of Lionbridge within

   the meaning of §20(a) of the 1934 Act.

                     (a)     By virtue of their positions as officers and/or directors and/or

   controlling stockholders of Lionbridge, and/or their participation in and/or awareness of the

   Company’s operations and/or intimate knowledge of the misleading statements contained in

   the Proxy Statement filed with the SEC, the Individual Defendants had the power to

   influence and control and did influence and control, directly or indirectly, the decision-

   making of the Company, including the content and dissemination of the various statements

   which plaintiff contends are misleading.

                     (b)     Each of the Individual Defendants were provided with or had

   unlimited access to copies of the Proxy Statement and other statements alleged by plaintiff to

   be misleading before and/or shortly after these statements were issued and had the ability to

   prevent the issuance of the statements or cause the statements to be corrected.

                                                  - 34 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 36 of 39 PageID #: 875




                  (c)     The Proxy Statement details the Individual Defendants’ involvement

   in negotiating, reviewing and approving the Merger and preparation of the Proxy Statement.

                  (d)     The Proxy Statement contains the unanimous recommendation of each

   of the Individual Defendants to approve the Merger. They were thus directly involved in the

   making of this document.

                  (e)     By reason of such conduct, the Individual Defendants are liable

   pursuant to §20(a) of the 1934 Act.

          100.    The Buyer Defendants are a controlling person of Lionbridge and the

   Individual Defendants within the meaning of §20(a) of the 1934 Act. By reason of their

   contractual rights and obligations with respect to Lionbridge, the Individual Defendants, and

   defendant Cowan in particular, the Buyer Defendants possessed control over Lionbridge and

   the Individual Defendants.

                  (a)     Lionbridge and the Individual Defendants were required by §6.01 of

   the Merger Agreement to refrain from changing the operation of the Company’s business or

   engaging in a variety of activities without the express written consent of the Buyer

   Defendants.

                  (b)     Pursuant to §6.04(a) of the Merger Agreement, Lionbridge was not

   permitted to change the record date for the stockholder meeting on the Merger without the

   Buyer Defendants’ prior written consent.

                  (c)     Pursuant to §6.04(b) of the Merger Agreement, the Buyer Defendants

   were required to, and did, “cooperate with the Company in connection with the preparation

   and filing of the Proxy Statement, including as promptly as practicable furnishing to the

   Company in writing upon request any and all information relating to it as may be required to

   be set forth in the Proxy Statement under Applicable Law.” HIG also promised to

                                              - 35 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 37 of 39 PageID #: 876




          ensure that such information supplied by it in writing for inclusion in the
          Proxy Statement will not, on the date it is first mailed to stockholders of the
          Company and at the time of the Stockholder Meeting or filed with the SEC
          (as applicable), contain any untrue statement of a material fact or omit to
          state any material fact required to be stated therein or necessary in order to
          make the statements therein, in the light of the circumstances under which
          they are made, not false or misleading.

   HIG also explicitly required that, “prior to filing or mailing the Proxy Statement or any other

   required filings (any amendment or supplement thereto), or responding to any comments of

   the SEC with respect thereto, the Company shall provide Parent and its counsel with a

   reasonable opportunity to review and comment on such document or response and shall

   consider Parent’s comments in good faith.”

          101.     By reason of such conduct, the Buyer Defendants are liable pursuant to §20(a)

   of the 1934 Act.

                                    PRAYER FOR RELIEF

          WHEREFORE, plaintiff prays for judgment as follows:

          A.       Declaring this action to be a proper class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure;

          B.       Declaring that the Proxy Statement distributed by defendants to stockholders

   was materially misleading, in violation of Rule 14a-9 and §14(a) of the 1934 Act;

          C.       Awarding plaintiff and the members of the Class compensatory and/or

   rescissory damages against the defendants;

          D.       Awarding plaintiff and the members of the Class pre-judgment and post-

   judgment interest, as well as reasonable attorneys’ fees, expert witness fees and other costs;

          E.       Awarding extraordinary, equitable and/or injunctive relief as permitted by

   law, equity and the federal statutory provisions sued hereunder, and any appropriate state law

   remedies; and


                                               - 36 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 38 of 39 PageID #: 877




          F.     Awarding such other relief as this Court may deem just and proper.

                                       JURY DEMAND

          Plaintiff hereby demands a trial by jury on all issues so triable.

                                             ANDREWS & SPRINGER LLC


                                             By: /s/ Peter B. Andrews
                                             Peter B. Andrews (#4623)
                                             Craig J. Springer (#5529)
                                             David M. Sborz (#6203)
                                             3801 Kennett Pike Building C, Suite 305
                                             Wilmington, DE 19807
                                             Telephone: 302/504-4957
                                             302/397-2681 (fax)
                                             Email: pandrews@andrewsspringer.com
                                                     cspringer@andrewsspringer.com
                                                     dsborz@andrewsspringer.com

   OF COUNSEL:                               Local Counsel

   ROBBINS GELLER RUDMAN
     & DOWD LLP
   Randall J. Baron
   David T. Wissbroecker
   655 West Broadway, Suite 1900
   San Diego, CA 92101
   Telephone: 619/231-1058
   619/231-7423 (fax)

   ROBBINS GELLER RUDMAN
     & DOWD LLP
   Christopher H. Lyons (#5493)
   414 Union Street, Suite 900
   Nashville, TN 37219
   Telephone: 615/244-2203
   615/252-3798 (fax)

   Lead Counsel for Plaintiff




                                              - 37 -
Case 1:17-cv-00478-CFC Document 34 Filed 05/11/18 Page 39 of 39 PageID #: 878




   CAVANAGH & O’HARA
   Patrick J. O’Hara
   2319 West Jefferson Street
   Springfield, IL 62702
   Telephone: 217/544-1771
   217/544-9894 (fax)

   Additional Counsel for Plaintiff

   DATED: May 11, 2018




                                      - 38 -
